Case 2:04-cr-20311-.]DB Document 192 Filed 08/09/05 Page 1 of 8 PagelD 272

uNlTED sTATEs olsTRlcT couRT i=u_»;g B-r D,.
WESTERN DisTRlcT oF TENNEssEE '""_"
MEMPHls DlvlsloN 95 AU[; _9 AH 6: 58
uNlTED sTATEs oF AMERICA
M/
-v- 2:04cR20311-01-B »/

 

2:05€R20164-01-B
TERESA FLENllNG

Larrv Fitzgera|d. Retained

Defense Attorney

22 N. Second Suite 410

Memphis, TN 38103

 

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Counts 1, 4, 6, 7, 9, 12, 13, 15, 16, 17, 28, 32, 35, 36, 37,
38, 39, 41, 44, 48 of the indictment in 04-20311 on February 28, 2005, and to Counts 1, 2,
3, 4, 5, 6, 7, 8, 9 of the |nformation in 05-20164 on Apri| 27, 2005. Accordingly, the Court
has adjudicated that the defendant is guilty of the following offenses:

Date Count
Tit|e & Se¢tion Nature of Offense Offense Numbers
Conc|uded
18 U.S.C. § 371 Conspiracy 05/30!2002 1
(04-20311)
18 U.S.C. § 1343 Wire Fraud 05/17!2002 4, 6, 7, 9, 12,
13, 15, 16, 17
(04-20311)
18 U.S.C. § 641 Embezzlement 05/17/2002 28, 32
(04-20311)
18 U.S.C. § 1957 Engaging in l\/lonetary 04/29/2002 35, 36, 37, 38,
Transactions Derived from ' 39
Speclfied Unlawful Activity (04-20311)
18 U.S.C. § lVloney Laundering 04/25/2002 41, 44
1958(a)(1)(B)(i) (04-20311)
42 U.S.C. § 408(a)(7)(B) Social Security Fraud 04!10/2002 48
(04-20311)
18 U.S.C. § § 287 and 2 False Clairns 01/20/2005 1, 2, 3, 4, 5, 6,
7, 8, 9
(05-20164)

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reforrn Act of 1984 and the l\/landatory
Victims Restitution Act of 1996

Thls document entered on the docket sheet ln compliance
mm mile 55 motor azib) Fncrl= on g ' - 57 l q$)

Case 2:04-cr-20311-.]DB Document 192 Filed 08/09/05 Page 2 of 8 PagelD 273

Case No: 2:04CR20311-01-B & 2:OSCR20164-01-B Defendant Name; Teresa FLE|V||NG Page 2 of 7

Counts 2, 3, 5, 8, 10l 11, 14, 20, 21, 22, 23, 24, 25, 26, 27, 29, 30, 31, 33, 40, 42, 48, 47 are
dismissed on the motion of the United States.

lT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence;
Defendant's Date of Birth: 08/14/1970 August 03, 2005
Deft’s U.S. |Vlarshal No.: 19805-076

Defendant's |‘vlailing Address:
4872 Linda Wood Lane
lVlemphis, TN 38128

 

J. DANlEL BREEN
Nl'rEo sTATEs DlsTRlcT JuooE

August §§ , 2005

Case 2:04-cr-20311-.]DB Document 192 Filed 08/09/05 Page 3 of 8 PagelD 274

Case No: 2:04CR20311-01-B & 2:05€R20164-01-B Defendant Name: Teresa FLEM|NG Page 3 of 7
lNlPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a total term of 70 Months.

As to 04-20311, defendant is sentenced to 60 months as to each count 1, 4, 6, 7, 9, 12,
13, 15, 16, 17 and 48; and 63 months as to each count 28, 32, 35, 36, 37, 38, 39, 41 and
44, to be served concurrently

As to 05-20164, defendant is sentenced to 60 months as to each count 1, 2, 8, 4, 5, 6, 7,
8 and 9, to be served concurrently

Pursuant to §2.11.7, defendant is sentenced to an additional term of 7 months to be served
consecutively

The Cour't recommends to the Bureau of Prisons:

The defendant shall surrender for service of sentence at the institution designated
by the Bureau of Prisons as notified by the United States Marshal.

RETURN

l have executed thisjudgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES l\/lARSi-IAL
By:

 

Deputy U.S. l\/larshal

Case 2:04-cr-20311-.]DB Document 192 Filed 08/09/05 Page 4 of 8 PagelD 275

Case No; 2:04CR20311-01-B & 2:050R20164-01-B Defendant Name'. Teresa Fl_Ei\/llNG Page 4 of 7

SUPERVISED RELEASE

Upon release from imprisonment the defendant shall be on supervised release for
a term of 2 Years.

The defendant shall report to the probation office in the district to Which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered; The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation oft"rcer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

Case 2:04-cr-20311-.]DB Document 192 Filed 08/09/05 Page 5 of 8 PagelD 276

Case No: 2:04CR20311-01-B & 2:050R20164-01-B Defendant Name: Teresa FLEMING Page 5 of 7

10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

11. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

12. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminai Nionetary Penalties sheet of this judgment

ADD|TIONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
reiease:

1) Do not incur additional lines of credit without the permission of the Probation Officer.
2) Provide the Probation Officer access to any financial information

3) Submit to mental health treatment as directed by the Probation Officer.

4) Cooperate with the Probation Officer in the collection of DNA.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedu|e of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Tota| Fine Totai Restitution

$2,900.00 $423,309.13

The Speciai Assessment shall be due immediately

FlNE

No fine imposed.

Case 2:04-cr-20311-.]DB Document 192 Filed 08/09/05 Page 6 of 8 PagelD 277

Case No: 2:04CR20311-01-B & 2:050R20164-01-B Defendant Name: Teresa FLE|V||NG Page 6 of 7

REST|TUT|ON

Restitution in the amount of $423,309.13 is hereby ordered. The defendant shall
make restitution to the following victims in the amounts listed beiow.

Priority
Totai Amou nt of Order
Name of payee Amount Restitution Ordered or
of Loss Percentage
of Payment
|NTERNAL REVENUE $362,400.13 $362,400.13
SERV|CE,

Attn: RE: TERESA FLE|VIING

|NTERNAL REVENUE $60,909.00 $60,909.
SERV|CE,
Attn: RE: TERESA FLEM|NG

ifthe defendant makes a partial payment, each payee shali receive an approximately
proportional payment unless specified otherwise in the priority order or percentage payment
coiumn above.

The amount of loss and the amount of restitution ordered will be the same unlessr
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

Case 2:04-cr-20311-.]DB Document 192 Filed 08/09/05 Page 7 of 8 PagelD 278

Case No: 2:04CR20311-01-B & 21050R20164-01-B Defendant Name: Teresa FLE|V||NG Page 7 of 7

SCHEDULE OF PAYMENTS

Having assessed the defendants ability to payl payment of the total criminal monetary penalties
shall be due as foilows:

E. Speciai instructions regarding the payment of criminal monetary penalties:

To be paid in regular monthly installments of not less than 10% of gross monthly
income.

Uniess the court has expressly ordered otherwise in the special instructions above, if this judgment
imposes a period of imprisonment payment of criminal monetary penalties shall be due during the
period of imprisonment All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons' inmate Financial Responsibility Program, are made to the clerk of the
court, unless otherwise directed by the court the probation officer, or the United States attorney

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

Joint and Several
Defendant Name, Case Number, and Joint and Severai Amount:

Lorray Broden, isiah Han Conway, Benita Rogers, Vence| |V|artin, Deandrea Robinson.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 192 in
case 2:04-CR-20311 Was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

 

Vivian R. Donelson

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Larry E. Fitzgeraid
FITZGERALD & HARRIS
100 N. Main St.

Ste. 901

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Honorable .1. Breen
US DISTRICT COURT

